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                         EXHIBIT 4

                          Landforce

                         Declaration
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                DECLARATION OF ILYSSA MANSPEIZER,, LANDFORCE

I, Ilyssa Manspeizer, declare as follows:

       I.      My name is Ilyssa Manspeizer, and I live in Pittsburgh, Pennsylvania. This

declaration is based on my personal knowledge, professional education and experience. I am

over the age of eighteen and suffer from no legal incapacity. I submit this declaration on behalf

of the Pittsburgh Conservation Corps d/b/a Landforce, a nonprofit orgahization affected by the

federal grant terminations.

       2.      Landforce is a 501 (c)(3) nonprofit organization that collaborates with public and

private agencies to build a network of greenspace experts. Landforce recruits, trains, educates,

employs, and supports adults who faced structural barriers to stable employment due to race or

personal history. Employees work on a variety of land stewardship services such as trail building,

erosion control, reforestation, and garden bed installation to make Pittsburgh communities more

sustainable and healthy places to live.

       3.      I am the CEO of Land force. I have worked at Landorce for IO years. In my role,

I am responsible for overseeing the organization's overall performance, functions, employees,

and volunteers. I oversee and ensure Landforce's financial stability while also driving the

organization's mission, maintaining company direction, and helping create and implement

strategic planning to benefit and promote the organization.

   Community Change Grant Pro,jcct: "Leveraging Pittsburgh/Philadelphia Workforce
     Development Partnerships to Multiply the Impact of Deca1·bonizatio11, Pollution
       Remediation, and Circular Economy through Woody Biomass Utilization"

       4.      Landforce applied for a Community Change Grant ("CCG") in February 2024.

The grant process was highly competitive and required several months of staff time and

resources to develop a comprehensive and successful application.




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